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                           UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
______________________________________
                                              :
Sheena Sutton,                                :
                                              : Civil Action No.: 4:10-cv-00345
                                              :
                      Plaintiff,              :
      v.                                      :
                                              :
ER Solutions, Inc.; and DOES 1-10, inclusive, :
                                              :
                      Defendant.              :
______________________________________ :
                                              :
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed against ER Solutions, Inc. with prejudice and without costs to any party.

 Sheena Sutton                                 ER Solutions, Inc.

 ___/s/ Diana P. Larson__________              __/s/ Eric M. Jaegers

 Diana P. Larson                               Eric M. Jaegers
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SO ORDERED
